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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
  ESTATE OF GEORGE BERNARD              Case No. 4:22-cv-11009
  WORRELL, JR.,
                                        District Judge F. Kay Behm
               Plaintiff,
  v.                                    Magistrate Judge David R. Grand
  THANG, INC., and GEORGE
  CLINTON,

             Defendants.
 _________________________________________________________________/


  DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION TO
                STRIKE DEFENDANTS’ EXPERTS
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                                 ISSUE PRESENTED

       Defendants timely filed their Expert Witness list and disclosed that

 Defendants would not call independent experts and would only rely on rebuttal

 reports to two of Plaintiff’s experts. The Case Management Order’s deadline for

 expert rebuttal reports is January 6, 2025. Prior to this motion, Defendants’ counsel

 sought concurrence from Plaintiff’s counsel in a motion for sanctions arising from

 Plaintiff’s discovery violations. The next day, Plaintiff filed the instant motion to

 strike Defendants’ forthcoming expert rebuttal reports, in a transparent attempt to

 deflect from Plaintiff’s own sanctionable conduct. Under these circumstances,

 should the Court strike Defendants’ rebuttal reports, which have not yet come due

 under the Case Management Order?

       Defendants answer: No.

       Plaintiff answers: Yes.

       The Court should answer: No.




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                     MOST APPROPRIATE AUTHORITY

       Fed. R. Civ. P. 26

       Fed. R. Civ. P. 37

       Kramer v. Dadant & Sons, Inc., No. 5:22-cv-1736, 2023 U.S. Dist. LEXIS
       177632 (N.D. Ohio Oct. 3, 2023)




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                                  INTRODUCTION

       The Court should see this motion for what it is: a transparent attempt to deflect

 from Plaintiff’s discovery violations by requesting Rule 37 sanctions against

 Defendants for failing to file rebuttal reports three weeks before the scheduling

 order’s deadline. Defendants have made clear that they are not filing independent

 expert reports and are only preparing rebuttal reports to Plaintiff’s experts. Under

 the Case Management Order (“CMO”; ECF No. 82), those reports are not due until

 January 6, 2025. Plaintiff baselessly claims that this deadline only applies to

 Plaintiff’s rebuttal reports, and thus Defendants’ affirmative reports and rebuttals

 were all due December 13, 2024. There is no support for Plaintiff’s argument. It is

 directly contradicted by the plain terms of the CMO and Sixth Circuit case law.

       This motion is not about the timing of expert reports. Plaintiff filed it – without

 a good faith attempt to confer on the relief requested – one day after Defendants

 indicated they would be filing a motion for sanctions because Plaintiff deliberately

 concealed a critical settlement agreement and release with Westbound Records that

 assigned Plaintiff’s interest in the most valuable sound recordings at issue in this

 case. See ECF No. 112.

       Despite Plaintiff’s efforts, these are not dueling motions. Defendants’ motion

 is based on willful discovery misconduct warranting severe sanctions. Plaintiff’s

 motion has no basis in fact or law. The deadline for rebuttal reports is unambiguous


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 and neither the CMO nor the Federal Rules provide for sur-rebuttal reports. The

 Court should deny Plaintiff’s motion and award Defendants’ costs and attorneys’

 fees.

                                   BACKGROUND

         The CMO is clear. Plaintiff’s “Expert Witness List/Disclosures/Report” was

 due November 15, 2024. ECF No. 78, PageID.908. Defendant’s “Expert Witness

 List/Disclosures/Report” was due December 13, 2024. Id. The parties’ “Rebuttal

 reports are due” January 6, 2025. Id.

         Plaintiff served three expert reports on November 15, 2024. However,

 Plaintiff’s expert report on damages did not contain any opinions, findings, or

 conclusions. Rather, Plaintiff claimed that it would “supplement” its damages report

 after receiving additional discovery regarding Defendants’ revenue. Although

 Defendants had already produced thousands of pages of financial documents

 regarding royalties and the Works, Defendants provided the requested additional

 documentation. But Plaintiff never served a damages report and did not respond to

 Defendants’ multiple requests for an update on the status of the report.

         Plaintiff’s expert disclosures consisted of three reports: musicologist Ellen

 Exner (ECF No. 109-2), attorney Bob Kohn (ECF No. 109-3), and damages expert




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 Gary Cohen (attached as Ex. A).1 Cohen’s report simply stated that his analysis and

 findings would be made “upon review of applicable documents once produced by

 Clinton.” Ex. A at 4.

       In discovery, Defendants produced thousands of pages of financial

 documents, including Defendants’ own royalty records and those received from

 Defendants’ third-party subpoenas. One week before the close of discovery, Plaintiff

 requested that Defendants supplement their production with documents reflecting

 revenues realized from Works where Defendants or any related entity owns the

 sound recording. ECF No. 112-11, PageID.2521. Defendants reviewed the

 previously produced documents and subsequently produced (1) a report from Rights

 Recapture, LLC identifying several licensing fees; and (2) royalty statements from

 former defendant SoundExchange, which Plaintiff could have obtained at any point

 during discovery. Defendants produced these additional documents on November

 25, 2024. Exhibit B.


 1
   As an aside, Plaintiff’s chosen experts further evidence Boladian’s control of this
 litigation. See ECF No. 112. Bob Kohn has previously been retained by Boladian’s
 attorneys, King & Ballow, in at least four other litigations. See, e.g., Eight Mile Style,
 LLC v. Spotify United States Inc., No. 3:19-cv-0736, 2020 U.S. Dist. LEXIS 58134
 (M.D. Tenn. Apr. 2, 2020); Bluewater Music Services Corporation V. Spotify Usa
 Inc., 3:17cv1051 (MD Tenn) (2019 U.S. DIST. CT. MOTIONS LEXIS 449038);
 Artem Stoliarov V. Marshmello Creative, Llc Et Al, 2:19cv3934 (CD Cal.); Yellow
 Rose Productions, Inc. V. Pandora Media, Llc, 2:22cv809 (CD Cal.) (2024 U.S.
 DIST. CT. MOTIONS LEXIS 62245). Gary Cohen provided expert opinions on
 Boladian’s behalf in Armen Boladian v. George Clinton, Case No. BC576665; and
 Pharrell Williams v. Bridgeport Music, Inc., 13-cv-06004, (C.D. Cal. 2014).
                                             3
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       On December 10, 2024, Defendants’ counsel emailed Plaintiff’s counsel: “We

 provided the requested documents over two weeks ago. Please advise on when

 Plaintiff will serve its expert damages report.” Exhibit C. Plaintiff did not provide

 any update.

       On December 13, 2024, Defendants filed their expert witness list in

 accordance with the CMO. ECF No. 108. Defendants explained that they would not

 call independent expert witnesses and thus did not have any affirmative expert

 reports to disclose. Defendants identified rebuttal experts to Plaintiff’s musicology

 and damages experts, even though Defendants still had not received the damages

 report. Id. Defendants further asserted that as a result of Plaintiff’s failure to produce

 a damages report three weeks before the deadline for rebuttals, Defendants would be

 forced to file a motion to amend the CMO “unless the parties can reach an agreement

 on scheduling.” Id.

       Plaintiff still did not provide any update on its damages report or explain its

 failure to timely provide expert disclosures. Three days later, Plaintiff’s counsel

 asserted that Defendants’ expert reports were “overdue and hence forfeited.”

 Exhibit D.

       Defendants’ counsel responded that Plaintiff’s expert report on damages was

 “now 31 days late” and thus “Plaintiff has not provided Defendants with anything to

 rebut on damages.” Id. Defendants “had hoped that a sufficient explanation of


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 Plaintiff's failure to make timely disclosures could lead to an agreement on an

 amended expert discovery schedule with limited court involvement.” Id. Defendants

 again asked for an update as to whether “(1) Plaintiff still intends to serve an expert

 report on damages, and the anticipated timing of that report; and (2) whether Plaintiff

 will agree to submit a proposed amended schedule to provide Defendants with

 sufficient time to prepare rebuttal reports.” Id. Plaintiff then filed the instant motion

 to strike Defendants’ experts.

       The motion to strike immediately followed Defendants’ request for

 concurrence in Defendants’ motion for sanctions based on Plaintiff’s deliberate

 withholding of the Settlement Agreement and Release between Plaintiff and

 Westbound Records. ECF No. 112-2, PageID.2027. Plaintiff and Westbound

 Records, through its owner Armen Boladian, executed the Settlement Agreement on

 December 27, 2023, but Plaintiff withheld this document for nearly a year. ECF No.

 112, PageID.1975. This critically important agreement assigned Plaintiff’s

 purported interest in the most valuable sound recordings at issue in this litigation and

 retroactively released all Westbound employees (where Westbound had previously

 claimed Clinton as an employee). Id. Defendants filed their motion for sanctions on

 December 27, 2024. ECF No. 112.




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                                     ARGUMENT

       Plaintiff seeks to strike Defendants’ expert reports as a Rule 37(c)(1) sanction

 by conflating the CMO’s deadlines for initial expert reports and rebuttal reports.

 ECF No. 109, PageID.1786. Plaintiff further contends that “Defendants’ position

 eliminates Plaintiff’s right under the Case Management Order to issue rebuttal

 reports.” Id. at PageID.1785. There is no support for Plaintiff’s argument. The

 deadline for rebuttal reports applies to both parties and does not provide Plaintiff

 with any right to serve sur-rebuttal reports.

 A.    The January 6, 2025 deadline applies to all rebuttal reports.

       The CMO clearly states that the deadline for Defendants’ “Expert Witness

 List/Disclosures/Report” is December 13, 2024. ECF No. 78, PageID.908. The

 “Rebuttal reports” are due January 6, 2025. Id. The CMO does not distinguish

 between Plaintiff’s or Defendants’ rebuttal reports, so there is no basis for Plaintiff’s

 assertion that the January 6th deadline only applies to Plaintiff. Indeed, the CMO’s

 use of “rebuttal reports” plural, as opposed to the singular use of “report” for

 Plaintiff’s and Defendant’s independent expert disclosure deadlines directly

 contradicts Plaintiff’s construction.

       Under the Federal Rules of Civil Procedure, the timing for rebuttal reports is

 first determined by the deadlines set forth in a stipulation or court order. Fed. R. Civ.

 P. 26(a)(2)(D). It is only absent an express deadline that rebuttal reports must be


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 served within 30 days of the opposing party’s initial report. Id. See also, Avendt v.

 Covidien Inc., No. 11-cv-15538, 2015 U.S. Dist. LEXIS 48539, at *8 (E.D. Mich.

 Apr. 14, 2015) (explaining that “a lack of deadlines for rebuttal witnesses in a

 scheduling order does not mean that rebuttal witnesses are prohibited; it means that

 rebuttal witnesses must be disclosed according to Rule 26(a)(2)(D)(ii).”).

       Here, the Court’s scheduling order does set forth a specific deadline for

 rebuttal reports. The CMO does not distinguish between the timing of Plaintiff’s and

 Defendants’ rebuttals, and thus the deadline can only be interpreted as applying to

 all parties. See, e.g. Kramer v. Dadant & Sons, Inc., No. 5:22-cv-1736, 2023 U.S.

 Dist. LEXIS 177632, at *4-5 (N.D. Ohio Oct. 3, 2023). In Kramer, the case

 management order stated that the initial expert reports were due on August 22, 2023,

 and “rebuttal reports were due on September 11, 2023.” Id. at *4. The plaintiff, “ the

 party with the burden of proof” disclosed its expert report by the initial deadline. Id.

 The defendant did not serve an initial report and only prepared a rebuttal report. Id.

 In response to plaintiff’s motion to strike, the court held that the defendant’s “report

 was intended as a rebuttal” and “[b]ecause it was filed on the date rebuttal reports

 were due, it is timely.” Id. at *5.




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       The same applies here. The only deadline for rebuttals in the CMO is January

 6, 2025, and Defendants will timely serve rebuttal reports by that date.2

 B.    Plaintiff is not entitled to a sur-rebuttal report.

       Plaintiff’s motion is based on the false premise that the January 6, 2025

 deadline eliminates Plaintiff’s right to issue its own rebuttal reports. But that could

 only be true if Defendants were attempting to serve untimely affirmative expert

 reports after the initial report deadline. Here, Defendants only intend to serve rebuttal

 reports. Plaintiff essentially seeks to file a “sur-rebuttal expert report” without any

 authority to do so. “Sur-rebuttal expert reports—unlike rebuttal reports—are not

 contemplated by this Court's Scheduling Order … nor the Federal Civil Rules.”

 Shupe v. Rocket Cos., No. 1:21-cv-11528, 2024 U.S. Dist. LEXIS 177472, at *102

 n.21 (E.D. Mich. Sep. 30, 2024) citing Melnick v. TAMKO Bldg. Prod. LLC, No. 19-

 cv-02630, 2023 U.S. Dist. LEXIS 53137 at *4 (D. Kan. Mar. 28, 2023) (denying

 defendant’s motion for leave to file sur-rebuttal expert reports because, although

 “affirmative and rebuttal expert disclosures are permitted under” Rule 26, this rule

 “does not . . . contemplate . . . sur-rebuttal expert disclosures . . . nor does the

 Scheduling Order”).



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   Furthermore, even if the CMO’s December 13, 2024 deadline could somehow be
 interpreted as applying to Defendants’ affirmative and rebuttal reports, Defendants
 could not have met this deadline because Plaintiff never served its damages report
 and never told Defendants it was withdrawing its damages expert.
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       Defendants are not relying on affirmative expert reports, so there is nothing

 for Plaintiff to rebut. Contrary to Plaintiff’s disingenuous assertions, Defendants

 have not “ignored the December 13 deadline” or “disregarded the Court’s Order.”

 ECF No. 109, PageID.1785, 1789. Defendants timely filed an expert witness list that

 clearly explained Defendants were foregoing affirmative expert reports and

 proceeding only with rebuttal reports. It is Plaintiff who has ignored this explanation

 – and Defendants’ prior request to confer on expert scheduling – in the attempt to

 manufacture a violation of the CMO and detract from Plaintiff’s own sanctionable

 conduct.

 C.    Plaintiff did not comply with Local Rule 7.1(a).

       Lastly, Plaintiff hastily filed this motion without making a good faith attempt

 to confer with opposing counsel. Local Rule 7.1(a) “is quite comprehensive—

 requiring ‘a good faith interactive exchange’—to ensure the parties engage in

 reasonable efforts to resolve disputes before expending their time and effort to brief

 an issue and the Court's time and effort to resolve it.” In re Ftca Flint Water Cases,

 No. 17-cv-11218, 2023 U.S. Dist. LEXIS 209321, at *9 (E.D. Mich. Nov. 22, 2023).3

       As the rebuttal deadline neared, Defendants repeatedly asked for a status

 update on Plaintiff’s damages report. Had Plaintiff responded to these requests, and


 3
  Plaintiff has sought denial of at least three prior motions based on the moving
 parties’ alleged failure to satisfy L.R. 7.1(a). See, ECF No. 58, PageID.571; ECF No.
 65, PageID.661; ECF No. 83, PageID.954.
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 explained that it was withdrawing its damages expert, the parties could have

 conferred on timing for the rebuttal to Plaintiff’s musicologist expert and scheduled

 expert depositions prior to the parties’ facilitation. However, Plaintiff was only

 interested in getting out in front of Defendants’ motion for sanctions by baselessly

 asserting that Defendants should be sanctioned for missing a rebuttal report deadline

 that has not yet come due. The Court should not permit such tactics.

                                  CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiff’s Motion to Strike

 Defendants’ Experts, award Defendants their costs and fees incurred in connection

 with Plaintiff’s motion, and award any additional relief the Court deems appropriate.

                                        Respectfully submitted:

                                        SCHENK & BRUETSCH PLC

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       December 31, 2024




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                           CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2024, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system, which will send notification

 of such filing to the attorneys of record.

                                                   /s/ Peter E. Doyle




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